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 8                              UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                 SAN FRANCISCO DIVISION

11   WHATSAPP INC., a Delaware corporation,    Case No. 3:19-cv-07123-JSC
     and FACEBOOK, INC., a Delaware
12   corporation,                              [PROPOSED] ORDER SETTING ASIDE
                                               DEFAULT AND ENLARGING TIME TO
13               Plaintiffs,                   FILE RESPONSIVE PLEADING
14         v.
15   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,
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17               Defendants.

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28   [PROPOSED] ORDER GRANTING                                    Case No. 3:19-cv-07123-JSC
     APPLICATION TO SET ASIDE DEFAULT
     AND TO ENLARGE TIME TO FILE
     RESPONSIVE PLEADING
      Case 4:19-cv-07123-PJH Document 24-4 Filed 03/06/20 Page 2 of 2




 1          On April 16, 2020, at 9:00 am, this Court heard argument on the application of

 2   Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited (“NSO”) to

 3   set aside default and to enlarge time to file a responsive pleading.

 4          After full consideration of Defendants’ pleading, all points and authorities filed in

 5   support of, and in opposition to, the application, and good cause therefor appearing, IT IS

 6   HEREBY ORDERED THAT:

 7          1.      The Application of Defendants NSO Group Technologies Limited and Q Cyber

 8                  Technologies Limited is GRANTED.

 9          2.      The default entered March 2, 2020 is hereby set aside.

10          3.      The deadline for Defendants to file a responsive pleading in this case shall be 120

11                  days after the later of the setting aside of the default or service of the complaint

12                  and summons.

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14          IT IS SO ORDERED.

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16   Dated: ________________, 2020            _____________________________________________
                                              THE HONORABLE JACQUELINE SCOTT CORLEY
17                                                 UNITED STATES MAGISTRATE JUDGE
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28    [PROPOSED] ORDER GRANTING                       1                         Case No. 3:19-cv-07123-JSC
      APPLICATION TO SET ASIDE
      DEFAULT AND TO ENLARGE TIME
      TO FILE RESPONSIVE PLEADING
